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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

JAMES JENKINS, WILLIE C. BLUE,
and CARL FUTRELL, On Behalf Of
Themselves And All Others Similarly

 

Situated

Plaintiffs,

VS.
)

THE UNITED STATES DEPARTMENT No.
OF HOUSING AND URBAN )
DEVELOPMENT (HUD), SHAUN )
DONOVAN, in his Official Capacity as )
Secretary of HUD, and the )
HOUSING AUTHORITY OF COOK )
COUNTY (HACC), an Illinois Municipal )
Corporation,

Defendants.

COMPLAINT
INTRODUCTORY STATEMENT

1, This is an action brought by a proposed class of current residents of the Celina Blake

Homes and low-income families in need of public housing who will be involuntarily displaced
from public housing or denied the benefits of public housing if the Housing Authority of Cook
County (HACC) and the United States Department of Housing and Urban Development (HUD)
proceed with the demolition of the Celina Blake Homes.

2, Celina Blake Homes is a 100-unit public housing development owned and managed by
the HACC. Celina Blake Homes enables plaintiffs and their families to live in decent, habitable,
and affordable housing in the Village of Ford Heights. Celina Blake Homes provide an

important resource for larger, low-income African-American families, with over half of its units
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consisting of three, four, and five bedroom homes. The HACC receives federal dollars to
maintain and provide public housing for these low-income tenants.

3. Without intervention by this court, Celina Blake Homes will be permanently lost as a
source of family public housing during one of the worst economic downturns in this country
since the Great Depression. With approval from the HUD, the HACC intends to demolish all
100 units of public housing comprising the Celina Blake Homes.

4. Plaintiffs who are residents of the Celina Blake Homes will be displaced from their
homes and historic community and moved into principally poverty concentrated and racially
segregated parts of Cook County. Families on the public housing waiting list and other families
in desperate need of affordable housing in the community will have to wait that much longer for
affordable housing, while they struggle with homelessness and make daily decisions about how
they will pay for food, medicine, utilities, or rent.

5. The demolition of the Celina Blake Homes is part of a pattern and practice by the HACC,
with HUD approval, of substantially reducing the available supply of family public housing
supplied by the HACC. At the same time, the HACC has engaged in a pattern and practice of
not leasing up available family public housing units. Both of these actions adversely impact the
thousands of low-income families and African-Americans who need and are proportionally more
eligible for this housing.

6. HUD’s approval of the HACC’s application to demolish the Celina Blake Homes
contravenes federal law, by allowing the HACC to ignore federally mandated statutory and
regulatory requirements that must be met before a local housing authority may demolish federal
public housing. (Hereinafter HUD and the HACC may be collectively referred to as

“Defendants.”’)
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7. Defendants’ actions violate their statutory and regulatory duties, including Section 18 of
the United States Housing Act of 1937 (Section 18) and its implementing regulations, Title VI
of the Civil Rights Act of 1968 (the Fair Housing Act), its executive orders and implementing
regulations, the Quality Housing and Work Responsibility Act of 1998, and the Administrative
Procedure Act.
8. Plaintiffs are faced with an imminent threat of irreparable harm. Plaintiffs seek
declaratory and injunctive relief from this Court to end Defendants’ unlawful demolition of the
Celina Blake Homes and the illegal displacement of its public housing residents.

JURISDICTION
9. This court has jurisdiction over Plaintiffs’ claims under 28 U.S.C. § 1331 (federal
question), 42 U.S.C. § 3613 (fair housing), and 5 U.S.C. § 704 (authorizing judicial review of
final agency actions.)
10. Plaintiffs seek declaratory and injunctive relief against the Defendant, pursuant to 28
U.S.C, §§ 2201, 2202.

PARTIES

The Named Plaintiffs.

11. Plaintiff James Jenkins is a 56 year-old African-American male who currently lives at
975 E. 15' Street, Ford Heights, Illinois, in the Celina Blake Homes, with his young
granddaughter. He has lived at the Celina Blake Homes for over ten years and wishes to remain
there with his family because the Celina Blake Homes apartment provides his family stable,
affordable, and suitable housing. The HACC has not provided Mr. Jenkins assistance identifying
a unit that he can use with a Housing Choice Voucher. Rather, the HACC notified Mr. Jenkins
that he and his family will be involuntarily displaced on March 15, 2011 to another HACC

development. Mr. Jenkins wants to stay in the Celina Blake Homes.
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12. Plaintiff Willie C. Blue is a 77 year-old African-American male who currently lives at
940 E, 15" Street, Ford Heights, [linois in the Celina Blake Homes, with his three adult
children. He has lived at the Celina Blake Homes on or off since 1959 and permanently moved
back to the development in 1996 in order to raise his children after their mother died of cancer.
The HACC has only provided Mr. Blue with a three-bedroom Housing Choice Voucher even
though he currently has a four-bedroom public housing unit. Even though Mr. Blue is legally
blind, the HACC has provided him no help in identifying units to rent with his voucher. Mr.
Blue would like to stay in the Celina Blake Homes.

13. —- Plaintiff Carl Futrell is a 51 year-old African-American male who currently lives with his
young daughter in Ford Heights, Illinois, near the Celina Blake Homes. Because he and his
daughter are without the benefit of affordable housing, and their combined incomes are very
limited, they struggle every day to maintain their housing, utilities, put food on the table, and
cover other basic necessities. Mr. Futrell was on the public housing and Housing Choice
Voucher waiting lists from 2005 to 2009, Even though he diligently attempted to comply with
the HACC’s waiting list obligations, Mr. Futrell was removed from the public housing and
Housing Choice Voucher waitlists in 2009. In 2010, Mr. Futrell contacted the HACC to
determine if he could rejoin both waiting lists. The HACC told Mr. Futrell that the public
housing and Housing Choice Voucher waitlists were closed.

The Defendants.

14. Defendant HUD is the federal agency charged with administration and enforcement of all
federal laws and regulations relating to the demolition of federal public housing, including
compliance with the Fair Housing Act, 42 U.S.C, §§ 3601 ef seq.

15, Defendant Shaun Donovan is the Secretary of HUD, and, as such, is charged with the

administration and enforcement of all functions, powers and duties of HUD, including those
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related to the demolition of federal public housing and the Fair Housing Act. Defendant
Donovan is sued in his official capacity. Hereinafter, Defendants HUD and Donovan are
referred to collectively as “HUD.”
16. Defendant Housing Authority of Cook County (HACC) is an Illinois municipal
corporation, created and existing under the [inois Housing Authorities Act, 310 Ill. Comp. Stat.
10/1 ef seg. The HACC is a Public Housing Agency within the meaning of 42 U.S.C. § 1437.
17. At all times pertinent hereto the Defendant HACC has acted in its official capacity and
under color of state law.
CLASS ACTION ALLEGATIONS

18. Named Plaintiffs James Jenkins, Willie C. Blue, and Carl Futrell bring this action on
behalf of themselves and, pursuant to Fed. R. Civ. P. 23(a), (b)(2}, and (b}(3) on behalf of all
persons similarly situated. The Plaintiff class is defined as:

All eligible low-income persons either (i) residing at or involuntarily displaced

from the Celina Blake Homes or (ii) on the waiting list for or who are eligible for and in

need of public housing within Cook County.
19. Numerosity. The class is so numerous that joinder of all members is impractical. Upon
information and belief, it is comprised of (i) approximately 100 current or former households of
the Celina Blake Homes and (ji) 5,136 households on the 2011 public housing waiting list for the
Housing Authority of Cook County and at least 330,922 households in Cook County in need of
and eligible for public housing with the Housing Authority of Cook County. See Declaration of
Eli Wade-Scott, attached as Exhibit B.

20. Commonality. There are questions of law and fact common to the class as a whole.

Additionally, the HACC and HUD have acted and refused to act on grounds generally applicable
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to the Plaintiff class, thus making appropriate final injunctive and declaratory relief with respect
to the class as a whole.

21. Typicality and Adequacy. The individual claims of the class representatives are typical
of the claims of the class, and the class representatives and their counsel will fairly and

adequately protect the interests of the class.

STATUTORY AND REGULATORY FRAMEWORK
22. The United States Housing Act of 1937 declares that it is “the policy of the United States
to promote the general welfare of the Nation by employing its funds and credit ... to remedy the
unsafe housing conditions and the acute shortage of decent and safe dwellings for low-income
families...” 42 U.S.C. § 1437.
23. The national housing goal is the realization as soon as feasible of “a decent home and a
suitable living environment for every American family.” 42 U.S.C. § 1441.
24. The demolition and disposition of public housing is authorized under Section 18 of the
United States Housing Act of 1937 (Section 18), as amended in its entirety by the Quality
Housing and Work Responsibility Act (QHWRA) of 1998. 42 U.S.C. § 1437p.
25. HUD has promulgated regulations, at 24 C.F.R. part 970, detailing the administrative
steps required to perform demolition/disposition activity in accordance with Section 18.
26. Before demolishing all or part of a public housing development, Section 18 and 24 C.F.R.
§ 970 requires the local public housing authority (PHA) to submit a demolition application,
commonly referred to as a “Section 18 demolition application” to HUD for its approval. See 42
ULS.C. § 1437p(a), (0).
27. The HUD Special Applications Center (SAC), located in Chicago, and the affected HUD

local field office, are vested with the responsibility of evaluating the submitted application’s
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compliance with Section 18 and the other relevant federal laws. Based on that review, SAC and
the local field office approve or deny the demolition application.

28. Pursuant to Section 18, the principle burden of a PHA seeking to demolish public
housing is to show in its demolition application that the property is physically obsolete. A
property is physically obsolete if: (i) the public housing development to be demolished is
obsolete as to physical condition, location, or other factors, making it unsuitable for housing
purposes; and (11) no reasonable program of modifications is cost-effective to return the
development or portion thereof to useful life. (obsolescence requirement) 42 U.S.C.A. §
1437p(a)(1)(A). See also 24 CLF.R. § 970.15(a)(1).

29. The PHA must also meet the certification requirements of Section 18 in order to gain
HUD’s approval for demolition. 42 U.S.C. § 1437p(b)(1); 24 CLF.R. §§ 970.7 and 970.15. Fora
PHA seeking to demolish public housing based upon physical obsolescence must certify its
compliance with the physical obsolescence requirement under Section 18. 24 C.F.R. §
970.15(a)(1).

30. The PHA must also certify compliance with the Section 18 and 24 C_F.R. § 970
relocation requirements, including offering comparable replacement housing located in an area
not generally less desirable than the location of the displaced person’s housing, housing
counseling for displaced residents, and the payment of actual and reasonable relocation expenses.
42 ULS.C. §§ 1437p(a)(4); 24 CER. § 970.21.

31. The PHA must also certify compliance with the applicable civil rights laws, including the
Fair Housing Act’s duty not to discriminate, or advance policies that have an adverse disparate
impact (regardless of intent) on protected classes. 42 U. S.C. § 3604; See Demolition

Application, attached as Exhibit A at Tab 1.
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32. Finally, the PHA must also certify compliance with the duty to affirmatively further fair
housing. 42 U.S.C. § 3608. The duty to affirmatively further fair housing requires the PHA to
consider the impact of its actions on the goal of fair housing and to evaluate alternatives in light
of their fair housing implications.

33. HUD has a duty to disapprove a demolition application if it determines that any PHA
certification is clearly inconsistent with information and data available to or requested by HUD
regarding the requirements for demolition under federal law, including the PHA’s “failure to
meet the requirements for the justification for demolition under 24 C.F.R. § 970.15...”. 42
US.C. § 1437p(b)(1); 24 CLFLR. § 970.29.

34. HUD also has a duty not to discriminate, which includes an obligation not approve
actions that have an adverse disparate impact on persons protected by the Fair Housing Act. 42
U.S.C. § 3604. Finally, HUD has a duty to affirmatively further fair housing, meaning that it
must administer its programs, including the public housing program and related demolition
process, in a manner that affirmatively furthers the policies and purposes of the Act. 42 U.S.C. §
3608. Like a PHA, HUD must consider the impact of its actions on the goal of fair housing and

evaluate alternatives in light of their fair housing implications. /d.

STATEMENT OF FACTS
A. Fhe HACC’s Proposed Demolition of the Celina Blake Homes
35. On October 22, 2009, the HACC submitted its initial application to demolish all 100 units

at the Celina Blake Homes. Ex. A.
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36. In its application, the HACC presented no immediate plans for the redevelopment of the
Celina Blake Homes but instead stated it would relocate the remaining 59 households at the
Celina Blake Homes with Housing Choice Vouchers. /d. at Tab 3.

37. According to the HACC, its justification for the demolition of the Celina Blake Homes is
that it is physically obsolete, suffering from numerous physical deficiencies including
compromised foundations due to termite infestation, upgrading of the electrical systems,
numerous items in need of replacement, including roofs, siding, hot water heaters, windows,
piping, furnaces, and numerous upgrades including decorative bollards, trash masonry
enclosures, and central air conditioning. /d. at Tabl1. Pursuant to 24 C.F.R. 970.15, the HACC
certified it met the statutory requirements for physical obsolescence.

38. The HACC stated that it estimated that the cost of rehabilitation was $15,307,512, which
was 62.94% percent of the total development cost limit. fd at Tab 11. Total development cost is
a means for determining the cost limits for the construction of public housing. 42 U.S.C. §
1437d(b\(2). Under HUD regulations, HUD does not consider a program of modifications to be
cost-effective if the cost of such a program exceeds 57.14 percent of total development cost
(“TDC”). 24 C.F.R. § 970.15(b)(2).

39. The HACC also certified that it would carry out the demolition and relocation in
conformance with the civil rights laws, including the Fair Housing Act, and that it would
“affirmatively further fair housing in carrying out the proposed removal action.” Ex. A,
Demolition App. at Tab 1.

40. As part of its plan to relocate the remaining households with vouchers, the HACC stated
that it assessed the rental market in the area surrounding the Celina Blake Homes and found “a

pool of available rental units where rents fell within the Tenant-Based Housing Choice Voucher
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payment standards” including “Harvey, Markham, Dolton, Chicago Heights, and Calumet Park.”
id. at Tab 7. These targeted communities proposed for relocation have high levels of minority

concentration and poverty. Declaration of Eli Wade-Scott, attached as Exhibit B.

B. Plaintiffs’ February 23, 2010 Challenge To The BACC’s Demolition Application
4]. On February 23, 2010, two of the plaintiffs, through their legal counsel, asked HUD to
deny the HACC’s application to demolish the Celina Blake Homes. Letter from William P.
Wilen, Katherine E. Walz, and Samantha M. Tuttle to Ainars Rodin, February 23, 2010, attached
as Exhibit C. Based on the inspection of the development by plaintiffs’ consulting structural
engineer, Donald Kimball Jr., Principal, K2N Crest, P.C., (Mr. Kimball) plaintiffs alleged that
there was no evidence that the Celina Blake Homes was obsolete as to physical condition,
location or other factors. Ex. C at 1.
42. Mr. Kimball found that the development was not physically obsolete but rather a typical
multifamily rowhouse apartment complex of a style typical in the United States. Mr. Kimball
also found that the buildings appear to have been maintained overtime with proper replacements
and improvements over the life of the development. Ex. C.
43. Mr. Kimball also determined that HACC’s estimated costs of rehabilitation were highly
inflated and that many items identified for rehabilitation or replacement were in good working
order. Ex. C at 2. Mr. Kimball also determined that the cost estimate included numerous
upgrades to the development — trash masonry enclosures, decorative bollards, and central air
conditioning, for example - entirely unrelated to returning the property to its useful life. fd. Mr.

Kimball therefore concluded that “minimal investment and ongoing maintenance required to
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maintain the property’s useful life should cost a mere fraction of the costs indicated in the
application and not come anywhere close to exceeding 57.14% of the [TDC].” Id

44. The February 23, 2010 letter also challenged the relocation of the Celina Blake Homes
residents, all of whom are African-American families, into the Housing Choice Voucher
program, arguing that the relocation plan offered as relocation sites communities with high levels

of minority concentration and poverty. Ex. C at 3.

C. HUD’s Investigation of the Plaintiffs’ Allegations
45. In March 2, 2010 and April 22, 2010 letters to the Plaintiffs and the HACC, HUD
advised the parties it would conduct a review of the HACC’s demolition application for the
Celina Blake Homes to determine if the property met the obsolescence requirement. Letter from
Aimars Rodin to William P. Wilen, March 2, 2010, attached as Exhibit D, at 1. Letter from
Ainars Rodin to Lorri Newson, Executive Director, HACC, April 22, 2010, attached as Exhibit
E. HUD further stated it would investigate plaintiffs’ concerns regarding the HACC’s duty to
affirmatively further fair housing, including whether the HACC’s relocation plan for displaced
residents must assist families in relocating to areas that are racially integrated. Ex. D, at 1.
46, In an April 22, 2010 letter from HUD to the HACC, HUD reported that on March 3, 2010
and April 14, 2010 it had conducted an on-site mspection of the Celina Blake Homes. Ex. E at 1.
HUD stated that at these reviews, HUD staff could “not confirm the validity of termite
damage...” as alleged by the HACC in its demolition application. /d HUD also found that
* ..the tuck pointing was intact and in good repair...” even though the HACC had stated in its
demolition application that the site required $400,000 worth of masonry patching or repair. /d.;

Ex. A at Tab 11. HUD also noted that the HACC had failed to “identify the rehabilitation work

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required on a per unit basis” and directed HACC to submit supplemental data for nearly 40
identified obsolescence items “in order to complete the application and to [continue] processing
your request.” Ex. E. HUD also identified a number of items that were either not an eligible
rehabilitation cost under Section 18 or where the HACC’s stated rehabilitation cost appeared
excessive. fd.

47, On information and belief, the HACC did not submit the HUD-required and requested
supplemental data or a revised itemized cost estimate, which should have reflected the reduced
cost estimate in light of the ineligible rehabilitation costs and the excessive rehabilitation costs.
Rather, the HACC submitted an Inspection Summary Report, which does not contain
information regarding the cost of repairs, along with a certification that the property is severely
physically distressed, which also does not contain information regarding the cost of repairs. The
HACC also revised the estimated cost of rehabilitation to $18,473,662.00, which amounts to
66.34% of TDC. The HACC Supplemental Information, attached as Exhibit F. It is unclear
what the more than $3 million increase in rehabilitation costs represents, as there is no
mformation included regarding the cost of these seemingly new repairs to justify the increase. /d.
48. Even though the HACC utterly failed to meet the terms of HUD’s April 22, 2010 letter,
on October 29, 2010, HUD approved the HACC’s demolition application for the Celina Blake
Homes, based upon its certification that it met the statutory obsolescence requirements under
Section 18. Memorandum of Ainars Rodins to Steven E. Meiss, October 29, 2010, attached as
Exhibit G. This approval came even though information and data available to and requested by
HUD made it clear that the HACC’s demolition application continued to lack proper cost
estimates, contained exaggerated and/or ineligible costs estimates, included a mystery last

minute addition of $3 million in unsubstantiated repair costs, and contained items HUD staff

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found not to be obsolete. This approval came even though, based upon the above stated
deficiencies, the HACC’s certification of compliance with Section 18 obsolescence requirements
was clearly inconsistent with information available to HUD that showed that the HACC failed to
meet those requirements. And yet, HUD still found that the HACC met the obsolescence test for
demolition, submitted a satisfactory relocation plan, and otherwise provided the proper
certifications.

49. | HUD’s approval memorandum also failed to provide any review of Plaintiffs’ claims that
the HACC was encouraging Celina Blake Homes’ residents to move to predominately poor,
minority communities. Jd.

50. On information and belief, HUD failed to investigate the fair housing implications of
approving the demolition of the Celina Blake Homes, including its effect on families with
children and African-Americans. On information and belief, HACC failed to investigate the fair
housing implications of demolishing the Celina Blake Homes, including its effect on families
with children and African-Americans.

51. On information and belief, the HACC’s relocation policies and practices for public
housing families relocating with Housing Choice Vouchers — including targeting several
predominately poor, minority communities for replacement housing - have the effect of
discouraging the plaintiffs from inspecting or renting in predominately white or racially
integrated neighborhoods in the Chicago metropolitan area.

52, On information and belief, the HACC failed to provide any meaningful housing
counseling services to residents, beyond distributing generic lists of potential rental units and
offering bus tours, which would improve the chance that Celina Blake Homes’ residents would

move to more integrated communities.

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53. On information and belief, the housing specialists from the HACC, who were the primary
resource for helping Celina Blake Homes residents relocate with their vouchers have offered
little to no help in identifying other housing.
54, On information and belief, the HACC also failed to take affirmative steps such as
outreach to and recruitment of landlords in predominately white or racially integrated
neighborhoods.

D. The HACC’s Pattern and Practice of Making Unavailable and Eliminating

Family Public Housing with HUD approval.

55. The demolition of the Celina Blake Homes is part of a pattern and practice by the HACC
of making unavailable and otherwise eliminating its supply of family public housing.
56. On information and belief, since January 2008, the HACC has engaged in a pattern and
practice of failing to lease up vacant, available units within its family public housing
developments while continuing to lease up the senior public housing developments. See
Declaration of Eli Wade-Scott, attached as Exhibit H.
57. Between 2007 and 2010, the lease up rates for senior public housing developments far
exceeded, on average, the lease up rates for family public housing developments within the
HACC portfolio. Ex. H. This was the case, even though there were higher rates of vacancy at
the family properties. /d.
38. On information and belief, this failure to lease up the family public housing units has
occurred even though there have been, on annual basis since 2007, up to 5,136 families on the
public housing wait list and an estimated 171,012 non-elderly families in need. Ex H; Ex. B.

The HACC’s family public housing waitlist has been closed since January 29, 2010. Ex. H.

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59. _ As part of its obligations set forth in its Annual Contribution Contract for funding from
HACC, the HACC has a duty to lease up these vacant family public housing units even if it
intends to apply to demolish or otherwise dispose of these units in the future.

60. As well, since 2003, the HACC has proposed to demolish more than 551 units of family
public housing, while continuing to maintain and make available the 1,089 senior public housing
units. Ex. H; Ex. H at Tab 30. The HACC has not proposed to demolish any of its senior public
housing projects.

61. Should all of these proposed demolitions, including the Celina Blake Homes, proceed,
the HACC will have eliminated 76.2 % of the family public housing stock, leaving only 172
units available for low-income families on the public housing waitlist and other low-income
families in need. Ex. H.

62. On information and belief, both the HACC and HUD failed to investigate the fair housing
implications of the HACC’s pattern and practice of substantially reducing its supply of family
public housing and not leasing up the available family public housing units, particularly as those
policies impact families with children. The HACC and HUD also failed to consider alternatives

to these actions which would better advance the principles and purposes of the Fair Housing Act.

INJURIES SUFFERED BY THE PLAINTIFFS
63. Defendants’ actions threaten Plaintiffs with imminent and irreparable injury, including
involuntary displacement from their homes, the permanent loss of 100 units of family public
housing, the severing of personal, family and community ties, discrimination, and likely

segregation in poor, minority communities.

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64. According to HUD’s own data which is based on the 2000 U.S. Census, African-
Americans in Cook County disproportionately experience housing problems, such as cost
burdens, a lack of basic facilities, and overcrowding. While African-Americans comprise 23.9%
of Cook County’s population, 28.8% of the households experiencing housing problems were
African-American. Moreover, 35.4% of renters with housing problems were African-American.
Compared to white households, African-American households are over 2.5 times as likely to be
low-income renters with housing problems in Cook County. Ex. B.

65. There were 790 households on the HACC’s public housing waitlist as of November 2009,
which was the last time the waitlist was broken down by race and, on information and belief,
after the waitlist was purged in 2007. Ex. H. Of these households, 63.54% (502) were African-
American and 30.89% (224) were white. Jd. Public housing applicants in Cook County are thus
two times more likely to be African-American than to be white.

66. | Families with children are also disproportionately represented on the public housing wait
list, with 37% (292) were families with children while 26% (212) were elderly households. Ex.
H at Tab 28. The public housing waitlist was re-opened in December 2009 and closed on
January 29, 2010. Ex. H. Over 4,000 households were added to the list and there are now
approximately 3,723 families with children on the list, compared to 317 elderly houscholds. dd.
The public housing wait list remains closed.

67. | Families with children are also disproportionately represented among the Housing Choice
Voucher waitlist, with 12,800 (85%) of the 14,935 total wait list households representing
families with children. Ex. H at Tab 29.

68. The Defendants’ plans to demolish the Celina Blake Homes would have an adverse

discriminatory impact on African-Americans and families with children because this group is

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disproportionately eligible for subsidized housing and disproportionately represented among the
Celina Blake Homes residents and the public housing and Housing Choice Voucher wait list
applicants.

69. Defendants’ actions have caused and will continue to create a severe hardship for
plaintiffs and their families.

70. The Plaintiffs have no adequate remedy at law.

CLAIMS FOR RELIEF

CLAIMS AGAINST HUD

VIOLATIONS OF THE UNITED STATES HOUSING ACT OF 1937
& 24 C.E.R. § 970

COUNT I: FAILURE TO ENSURE COMPLIANCE WITH SECTION 18
OBSOLESCENCE REQUIREMENTS

71. Plaintiffs re-allege paragraphs | to 70 of this Complaint and incorporate them herein.

72. Defendant HUD its an agency within the meaning of 5 U.S.C. § 701(b)(1) of the
Administrative Procedure Act.

73. By approving the HACC’s demolition application for the Celina Blake Homes after it
determined that the defendant HACC’s demolition application contained numerous errors,
omissions, exaggerations, and non-obsolete items, and after defendant HACC failed to comply
with defendant HUD’s request for certain supplemental information, defendant HUD violated its
duty not to approve the demolition of federal public housing without first requiring housing
authority compliance with 42 U.S.C. § 1437p(a)(1)(A) and its implementing regulations at 24

CFR. § 970.15(a).

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74. By approving the HACC’s demolition application for the Celina Blake Homes, even
though the HACC’s certification was clearly inconsistent with the information and data available
to HUD, which showed a failure by the HACC to meet the demolition requirements under
Section 18, HUD violated its duty to disapprove such an application pursuant to 42 U.S.C. §
1437(b)(1).

75, Pursuant to the Administrative Procedure Act, 5 U.S.C. §706 (2007), Plaintiffs are

entitled to declaratory relief and judgment.

COUNT Hi: VIOLATION OF THE ADMINISTRATIVE PROCEDURE ACT
76. Plaintiffs re-allege paragraphs 1 to 70 of this Complaint and incorporate them herein.
77. Defendant HUD is an agency within the meaning of 5 U.S.C. § 701(b)(1) of the
Administrative Procedure Act.
78. Despite the violations alleged above, defendant HUD approved the defendant HACC’s
demolition application, even though 42 U.S.C. § 1437p(b)(1) requires it to disapprove an
application when the PHA’s certification that it had met the statutory and regulatory
requirements for obsolescence is clearly inconsistent with the information and data available to
HUD. Defendant HUD thus took actions that were arbitrary, capricious, an abuse of discretion,
not in accordance with law, in excess of statutory authority and without observance of

procedures required by law, within the meaning of 5 U.S.C. § 706(2)(A),(C),(D).

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CLAIMS AGAINST THE HACC
VIOLATIONS OF THE UNITED STATES HOUSING ACT OF 1937
& 24 C.F.R. § 970
COUNT I; FAILURE TO MEET THE DEMOLITION TEST

79. Plaintiffs re-allege paragraphs 1 to 70 of this Complaint and incorporate them herein.
80. Defendant HACC is a “person” within the meaning of 42 U.S.C. § 1983, and its actions
described herein were taken under color of state law.
81. By submitting a demolition application for a public housing project that is not obsolete as
to physical condition, location, or other factors, and for which there is a reasonable program of
modifications that is cost-effective to return the development or portion thereof to useful life,
defendant HACC violated its duty not to demolish federal public housing without first
complying with 42 U.S.C. § 1437p and its implementing regulations at 24 C.F.R. part 970. By
certifying that it had met the statutory and regulatory requirements for demolition under Section
18 when it had not complied with these requirements, HACC violated its duty not to demolish
federal public housing until it complied with 42 U.S.C. § 1437p and its implementing regulations

at 24 CLF_R. part 970.

CIVIL RIGHTS CLAIMS AGAINST BOTH DEFENDANTS

Claims under Title VIL of the Civil Rights Act of 1968 , Executive Orders 11063 and
12892, and the Quality Housing Work Responsibility Act of 1998

COUNT IV: ADVERSE DISPARATE IMPACT ON AFRICAN-AMERICANS AND
FAMILIES WITH CHILDREN

82. Plaintiffs re-allege paragraphs 1 to 70 of this Complaint and incorporate them herein.

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83. Defendant HUD is an agency within the meaning of 5 U.S.C. § 701(b)(1) of the
Administrative Procedure Act. Defendant HACC is a “person” within the meaning of 42 U.S.C,
§ 1983, and its actions described herein were taken under color of state law.

84. | Defendants’ actions as described above will have an adverse disparate impact upon
plaintiffs as African-Americans, and families with children, and therefore, constitute a violation
of the Fair Housing Act, 42 U.S.C. §8 3604, 3613, as further elaborated by 24 C.F.R. §§ 100.50,
100.65, 100.70, 100.75, 100.80 and the Quality Housing Work Responsibility Act of 1998, 42
U.S.C. § 1437c-1(d)(15).

85. Pursuant to the Administrative Procedure Act, 5 U.S.C. § 706, Plaintiffs are entitled to

declaratory relief and judgment.

COUNT V: FATLURE TO AFFIRMATIVELY FURTHER FAIR HOUSING

86. Plaintiffs re-allege paragraphs 1 to 70 of this Complaint and incorporate them herein.

87. Defendant HUD is an agency within the meaning of 5 U.S.C. § 701(b)(1) of the
Administrative Procedure Act. Defendant HACC is a “person” within the meaning of 42 U.S.C.
§ 1983, and its actions described herein were taken under color of state law.

88. By displacing plaintiffs from their homes in public housing, operating a relocation
program that will cause plaintiffs to likely become segregated into predominately African-
American neighborhoods, failing lease its available family public housing, substantially reducing
its supply of family public housing, and failing to investigate the fair housing implications of its
above stated actions, defendant HACC violated its duty to affirmatively further fair housing
pursuant to 42 U.S.C. § 3608(e)(5) (2007); 24 C.F.R. §§ 960.103(b), 107.20(a), 903.7(0),

982.53(b), (c); Exec. Order No. 11,063 (27 Fed. Reg. 11,527 (Nov. 20, 1962); Exec. Order No.

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12,892, 59 Fed. Reg. 2,939 (Jan. 17, 1994); and the Quality Housing Work Responsibility Act of
1998, 42 U.S.C. § 1437¢-1(d)(15).

89. By breaching their duty to affirmatively further fair housing, defendant HACC deprived
plaintiffs of rights secured to them by federal law, in violation of 42 U.S.C. § 1983.

90. By approving the HACC’s demolition application for the Celina Blake Homes without
investigating the fair housing implications of its decision, defendant HUD violated its duty to
administer HUD programs in a manner so as to affirmatively further fair housing, and have
violated piaintiffs’ rights under 42 U.S.C. §3608(e)(5); 24 C_FLR. §§ 960.103(b), 107.20(a),
903.7(a), 982.53(b), (c); and Exec. Order No. 11,063, 27 Fed. Reg. 11,527 (Nov. 20, 1962);
Exec. Order No. 12,892, 59 Fed. Reg. 2,939 (Jan. 17, 1994).

91. Plaintiffs are entitled to declaratory relief and judgment directly under the Administrative

Procedure Act, 5 U.S.C. § 706.

RELIEF REQUESTED

WHEREFORE, plaintiffs respectfully request that this Court:

A. Declare that the acts and omissions of the defendants, as set forth above, violate
Section 18 of the United States Housing Act of 1937, 42 U.S.C. § 1437p, and its
implementing regulations;

B. Declare that the acts and omissions of the defendants, as set forth above, violate
the Fair Housing Act, 42 U.S.C. §3601 et. seq., its implementing regulations, and
Executive Orders 11063 and 12892; and the Quality Housing Work

Responsibility Act of 1998, 42 U.S.C. § 1437e-1(d)(15).

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C. Declare that the actions of defendant HUD are arbitrary, capricious, and otherwise
not in accordance with the law and without observance of procedure required by
law in violation of the Administrative Procedure Act, 5 U.S.C. § 706.

D. Enter a temporary restraining order and a preliminary and permanent injunction,
without bend or upon a nominal bond, enjoining defendants from:

(4) Demolishing or otherwise rendering uninhabitable any portion or unit
comprising the Celina Blake Homes;

(2) Involuntarily relocating plaintiffs from the Celina Blake Homes;
(3) Engaging in any relocation activities with respect to plaintiffs that fail to
affirmatively further fair housing or have a disparate impact on African-

Americans and families with children;

E. Enter an order requiring Defendants to pay plaintiffs’ reasonable costs and the
attomeys’ fees of the Sargent Shriver National Center on Poverty Law for the
prosecution of this action in accordance with 42 U.S.C. § 1988 and 42 U.S.C.
$3613(c)(2).

F. Grant plaintiffs such further relief as this Court deems just and proper.

Dated: March 11, 2011

  

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: _-Attoiney forthd Plaintiffs

 

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